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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY
AT LOUISVILLE

VANESSA L. ARNISTRONG, CLERK

MAY 22 2013

UNITED STATES OF AMERICA

ANTHONY D. SMITH, aka “Blackjack”
(cts 1, 3, 4, 15)

MONIKA J. SMITH (cts. 2, 9)
WILLIAM R. SMITH, aka “Ray Ray”
(cts. 1, 2, 5, 6, 7, 8)

KENDRICK C. BROWN, aka “Stacks”
(ct. 2)

CHARLES A. REED (cts. 1, 3)

ERIC DRYDEN (cts. 1, 4)

JOYCE VICKIE SMITH

(cts. 1, 2, 10, 11, 12, 13, 14, 15) .
JOSEPH WHITFIELD (cts. 2, 9)
CLARK BROWN (ct. 1)

KINTE BROWN (ct. 1)

DEON CRUMES (cts. 1, 5)

MIKE MILLER (ct. 2)

MELVIN YOUNG, aka “Dead” (ct. 2)
ANDRE L. ONEAL (cts. 1, 7)

The Grand Jury charges:

NO.

COUNT 1

U.S. DISTRICT COURT
WEST'N. BIST. KENTUCKY

INDICTMENT

J 2CR-83~-S
21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(A)
21 U.S.C. § 841(b)(1)(B)
21 U.S.C. § 841 (b)(1)(C)
21 U.S.C. § 846
21 ULS.C. § 853
18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)
18 U.S.C. §2
18 U.S.C. § 924(d)
28 U.S.C. § 2461

From in or about April, 2011 until on or about April 30, 2013, in the Western District of

Kentucky, Jefferson County, Kentucky, and elsewhere, the defendants, ANTHONY D. SMITH

aka “Blackjack”, JOYCE VICKIE SMITH, WILLIAM R. SMITH aka “Ray Ray”,

CHARLES A. REED, ERIC DRYDEN, CLARK BROWN, KINTE BROWN, ANDRE L.

ONEAL, and DEON CRUMES, knowingly and intentionally conspired with each other and

others, to possess with the intent to distribute and to distribute 5 kilograms or more of a mixture

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and substance containing cocaine, a Schedule II controlled substance as defined by Title 21,
United States Code, Section 812, in violation of Title 21, United States Code, Section 841(a)(1).

In violation of Title 21, United States Code, Sections 846 and 841(b)(1)(A).

The Grand Jury further charges:
COUNT 2

From on or about February 26, 2013 until on or about April 30, 2013, in the Western
District of Kentucky, Jefferson County, Kentucky, and elsewhere, the defendants, MONIKA J.
SMITH, JOYCE VICKIE SMITH, WILLIAM R. SMITH aka “Ray Ray”, KENDRICK C.
BROWN aka “Stacks”, JOSEPH WHITFIELD, MIKE MILLER, and MELVIN YOUNG
aka “Dead”, knowingly and intentionally conspired with each other and others, to possess with
the intent to distribute and to distribute 5 kilograms or more of a mixture and substance
containing cocaine, a Schedule II controlled substance as defined by Title 21, United States
Code, Section 812, in violation of Title 21, United States , Section 841(a)(1).°

In violation of Title 21, United States Code, Sections 846 and 841(b)(1)(A).

The Grand Jury further charges:
COUNT 3
On or about April 30, 2013, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendants, ANTHONY D. SMITH aka “Blackjack” and CHARLES A.
REED, aided and abetted by each other and others, knowingly and intentionally possessed with
the intent to distribute and distributed 5 kilograms or more of a mixture and substance containing
cocaine, a Schedule II controlled substance, as defined in Title 21, United States Code, Section

812.

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In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A), and Title

18, United States Code, Section 2.

The Grand Jury further charges:
COUNT 4

On or about April 22, 2013, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendants, ANTHONY D. SMITH aka “Blackjack” and ERIC DRYDEN,
aided and abetted by each other and others, knowingly and intentionally possessed with the
intent to distribute and distributed 500 grams or more of a mixture and. substance containing
cocaine, a Schedule II controlled substance, as defined in Title 21, United States Code, Section
812.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B), and Title

18, United States Code, Section 2.

The Grand Jury further charges:
COUNT 5

On or about September 24, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendants, WILLIAM R. SMITH aka “Ray Ray”, and DEON CRUMES,
aided and abetted by each other and others, knowingly and intentionally possessed with the
intent to distribute and distributed a mixture and substance containing cocaine, a Schedule II
controlled substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(), and Title

18, United States Code, Section 2.

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The Grand Jury further charges:
COUNT 6

On or about November 23, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, WILLIAM R. SMITH aka “Ray Ray”, aided and abetted by others,
knowingly and intentionally possessed with the intent to distribute and distributed a mixture and
substance containing cocaine, a Schedule II controlled substance, as defined in Title 21, United
States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and Title .

18, United States Code, Section 2.
The Grand Jury further charges:

COUNT 7
On or about November 29, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendants, WILLIAM R. SMITH aka “Ray Ray” and ANDRE L. ONEAL,
aided and abetted by each other and others, knowingly and intentionally possessed with the
intent to distribute and distributed a mixture and substance containing cocaine, a Schedule II
controlled substance, as defined in Title 21, United States Code, Section 812.
In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(O), and Title

18, United States Code, Section 2.
The Grand Jury further charges:

COUNT 8

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On or about December 19, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, WILLIAM R. SMITH aka “Ray Ray”, aided and abetted by others,
knowingly and intentionally possessed with the intent to distribute and distributed a mixture and
substance containing cocaine, a Schedule II controlled substance, as defined in Title 21, United
States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(6)(1)(C), and Title

18, United States Code, Section 2.

The Grand Jury further charges:

COUNT 9
On or about April 19, 2013, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendants, MONIKA J. SMITH, and JOSEPH WHITFIELD, aided and
abetted by each other and others, knowingly and intentionally possessed with the intent to
distribute and distributed 500 grams or more of a mixture and substance containing cocaine, a
Schedule II controlled substance, as defined in Title 21, United States Code, Section 812.
In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B), and Title

18, United States Code, Section 2.

The Grand Jury further charges:

COUNT 10
On or about June 11, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, JOYCE VICKIE SMITH, knowingly and intentionally possessed
with the intent to distribute and distributed a mixture and substance containing heroin, a

Schedule I controlled substance, as defined in Title 21, United States Code, Section 812.
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In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

The Grand Jury further charges:
COUNT 11
On or about June 18, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, JOYCE VICKIE SMITH, knowingly and intentionally possessed
with the intent to distribute and distributed a mixture and substance containing heroin, a
Schedule I controlled substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).
The Grand Jury further charges:

COUNT 12
On or about June 26, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, JOYCE VICKIE SMITH, knowingly and intentionally possessed
with the intent to distribute and distributed a mixture and substance containing heroin, a
Schedule I controlled substance, as defined in Title 21, United States Code, Section 81 2.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).
The Grand Jury further charges:

COUNT 13
On or about July 3, 2012, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, JOYCE VICKIE SMITH, knowingly and intentionally possessed

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with the intent to distribute and distributed a mixture and substance containing heroin, a
Schedule I controlled substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).
The Grand Jury further charges:

COUNT 14
On or about November 29, 2012, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, JOYCE VICKIE SMITH, knowingly and intentionally possessed
with the intent to distribute and distributed a mixture and substance containing heroin, a
Schedule I controlled substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).
The Grand Jury further charges:

COUNT 15
On or about January 22, 2013, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, JOYCE VICKIE SMITH, knowingly and intentionally possessed
with the intent to distribute and distributed a mixture and substance containing heroin, a
Schedule I controlled substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

The Grand Jury further charges:.
COUNT 16
On or about April 30, 2013, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ANTHONY D. SMITH aka “Blackjack”, being a person who had

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been convicted in a court of a crime punishable by imprisonment for a term exceeding one year,

to wit:

Date Indictment | Charges Jurisdiction

5-17-2000 | 96CR2759 | Assault 1 Degree Jefferson Co., KY

knowingly possessed, in and affecting commerce, a firearm, to wit: a Taurus PT 24/7 pro .45
caliber pistol Serial Number: nzk52415; a Glock 27 Serial Number: nde561; and a Steyr .40
caliber Serial Number 018576.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

NOTICE OF FORFEITURE

As a result of committing offenses in violation of Title 21, United States Code, Sections
841(a)(1), 841(b)(1)(A), 841(b)(1)(b), 846, as alleged in this Indictment, felonies punishable by
imprisonment for more than one year, the defendants, ANTHONY D. SMITH aka
“Blackjack”, MONIKA J. SMITH, WILLIAM R. SMITH aka “Ray Ray”, KENDRICK C.
BROWN aka “Stacks”, CHARLES A. REED, ERIC DRYDEN, JOYCE VICKIE SMITH,
JOSEPH WHITFIELD, CLARK BROWN, KINTE BROWN, DEON CRUMES, MIKE
MILLER , MELVIN YOUNG aka “Dead”, and ANDRE L. ONEAL, shall forfeit to the
United States pursuant to Title 21 United States Code, Section 853, any and all property
constituting, or derived from, proceeds the defendants obtained, directly or indirectly, as a result
of said offense, and any and all of the defendants’ property used, or intended to be used, in any
manner or part, to commit or to facilitate the commission of the violations and involved in the

offenses as alleged in this Indictment.

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Furthermore, as a result of committing an offense in violation of Title 18, United States
code, Section 922(g)(1) and 924(a)(2), as alleged in this Indictment, a felony punishable by
imprisonment for more than one year, the defendants, ANTHONY D. SMITH aka
“Blackjack”, MONIKA J. SMITH, WILLIAM R. SMITH aka “Ray Ray”, KENDRICK C.
BROWN aka “Stacks”, CHARLES A. REED, ERIC DRYDEN, JOYCE VICKIE SMITH,
JOSEPH WHITFIELD, CLARK BROWN, KINTE BROWN, DEON CRUMES, MIKE
MILLER , MELVIN YOUNG aka “Dead”, and ANDRE L. ONEAL, shall forfeit to the
United States, pursuant to Title 18, United States Code, Section 924(d), and Title 28, United
States Code, Section 2461, all firearms and ammunition involved in the commission of the
offense, including, but not limited to a Taurus PT 24/7 pro .45 caliber pistol Serial Number:
nzk52415; a Glock 27 Serial Number: nde561; and a Steyr 40 caliber Serial Number 018576.

All pursuant to Title 21 United States Code, Section 853, Title 18, United States Code,
Section 924(d), and Title 28 United States Code, Section 2461.

A TRUE BILL

FOREPERSON

iB Cee.

DAVID J. HALE
4 UNITED STATES ATTORNEY

JSD:5-21-13

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UNITED STATES OF AMERICA y. ANTHONY D. SMITH, ET AL.

PENALTIES

Counts 1-3: NL 10 yrs./NM Life/$10,000,000/both/NL 5 yrs. Supervised Release (each count)
NL 20 yrs./NM Life/$20,000,000/both/NL 10 yrs. Supervised Release
(With notice of one prior felony drug conviction)
NL Life/$10,000,000/both)
(With notice of two prior felony drug convictions)
Counts 4, 9: NL 5 yrs./NM 40 yrs./$5,000,000/both/NL 4 yrs. Supervised Release (each count)
NL 10 yrs./NM Life/$8,000,000/both/NL 8 yrs. Supervised Release
(With notice of one prior felony drug conviction)
Count 5-8, 10-15: NM 20 yrs./$1,000,000/both/NM 3 yrs. Supervised Release
NM 30 yrs./$1,000,000/both/NM 3 yrs. Supervised Release
(With notice of one prior felony drug conviction)
Counts 16: NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release
Forfeiture

NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO
SPECIAL ASSESSMENTS, FINES, RESTITUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed
after November 11, 1984, as follows:

Misdemeanor: $ 25 per count/individual Felony: $100 per count/individual
$125 per count/other $400 per count/other
FINES
In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless
the court issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the
United States Attorney's Office with a current mailing address for the entire period that any part of the fine remains
unpaid, or you may be held in contempt of court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

1. INTEREST and PENALTIES as applicable by law according to last date of offense.

For offenses occurring after December 12, 1987:

No INTEREST will accrue on fines under $2,500.00.

INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate
in effect at the time of sentencing. This rate changes monthly. Interest accrues from
the first business day following the two week period after the date a fine is imposed.

PENALTIES of:

10% of fine balance if payment more than 30 days late.
15% of fine balance if payment more than 90 days late.

2. Recordation of a LIEN shall have the same force and effect as a tax lien.

3. Continuous GARNISHMENT may apply until your fine is paid.
18 U.S.C. §§ 3612, 3613

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If you WILLFULLY refuse to pay your fine, you shall be subject to an
ADDITIONAL FINE of not more than the greater of $10,000 or twice the unpaid
balance of the fine; or IMPRISONMENT for not more than 1 year or both. 18
USS.C. § 3615 a

RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to
make restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. §
3663
APPEAL
If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:
1. That you deposit the entire fine amount (or the amount due under an installment
schedule during the time of your appeal) in an escrow account with the U.S. District
Court Clerk, or
2. Give bond for payment thereof.
18 U.S.C. § 3572(g)
PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be
made payable to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

LOUISVILLE: Clerk, U.S, District Co
106 Gene Snyder U.S. Courthouse
601 West Broadway
Louisville, KY 40202
502/625-3500

BOWLING GREEN: Clerk, U.S. District Court
120 Federal Building
241 East Main Street
Bowling Green, KY 42101
270/393-2500

OWENSBORO: Clerk, U.S. District Court
126 Federal Building
423 Frederica
Owensboro, KY 42301
270/689-4400

PADUCAH: Clerk, U.S. District Court
127 Federal Building
501 Broadway
Paducah, KY 42001
270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.

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FORM DBD-34
JUN.85

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VANESSA L. An IY.

UNITED STATES DISTRICT COURT

MAY 22 2013 Western District of Kentucky
be ° Louisville Division
WEST'N. ccs cv. .ck¥ THE UNITED STATES OF AMERICA

VS,

ANTHONY D. SMITH aka “Blackjack”

MONIKA J. SMITH; WILLIAM R. SMITH aka “Ray Ray”

KENDRICK C, BROWN aka “Stacks”

CHARLES A. REED; ERIC DRYDEN; JOYCE VICKIE

SMITH; JOSEPH WHITFIELD; CLARK BROWN;

KINTE BROWN; DEON CRUMES; MIKE MILLER;

MELVIN YOUNG; ANDRE L. ONEAL

INDICTMENT
Title 21 U.S.C. §§ 846; 841(b)(1)(A); 841(a)(1);
841(b)(1)(B); 841(b)(1)(C);
Title 18 U.S.C. §§ 2; 922(g)(1); 924(a)(2):
Conspiracy to Possession with the Intent to
Distribute and Distribution of Cocaine; Aiding
and Abetting; Possession with the Intent to
Distribute and Distribution of Cocaine and
Heroin; Felon in Possession of Firearms.

A true bill,

Foreman

Filed in open court this 22nd day, of May, A.D. 2013.

Clerk

Bail, $

